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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                        )
                                                 )
             v.                                  ) Criminal Action No. 23-cr-00061-MN
                                                 )
ROBERT HUNTER BIDEN,                             )
                                                 )
                    Defendant.                   )

                            DEFENDANT’S STATUS REPORT
       Defendant Robert Hunter Biden, pursuant to the Court’s August 31, 2023 Order (D.I. 36,

Case No. 1:23-cr-00061-MN), provides the following status report on the above-captioned case.

On June 20, 2023, the Information commencing this case was filed (D.I. 2), and the Court was

subsequently provided an executed copy of the parties’ Diversion Agreement by counsel (D.I. 24-

1). Mr. Biden has been following and will continue to follow the conditions of that Agreement,

which the U.S. Attorney’s Office agreed and signed and informed the Court on July 20, 2023 that

the Probation Office had agreed to and had recommended be put into effect.

Dated: September 6, 2023                    Respectfully submitted,

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